438 F.2d 975
    James E. ECTOR, Petitioner-Appellant,v.S. Lamont SMITH, Warden, Georgia State Prison, Respondent-Appellee.No. 30733 Summary Calendar.** Rule 18, 5 Cir. See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Feb. 12, 1971.
    
      Arthur K. Bolton, Atty. Gen., Harold N. Hill, Jr., executive Asst. Atty. Gen., Charles B. Merrill, Jr., Courtney Wilder Stanton, Asst. Attys.  Gen., Atlanta, Ga., for respondent-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from the denial of a Georgia state prisoner's petition for the writ of habeas corpus.  We affirm.
    
    
      2
      Upon a plea of guilty to robbery, Ector was sentenced to life imprisonment.  His sole contention is that negroes were systematically excluded from the grand jury that indicted him.
    
    
      3
      After a hearing the Superior Court of Tattnall County, georgia, denied relief.  Without appeal to the Supreme Court of Georgia, Ector filed his petition in the District Court.  The writ was denied because the court properly found that Ector had failed to exhaust available state remedies.  Fay v. Noia, 1963, 372 U.S. 391, 82 S.Ct. 822, 9 L.Ed.2d 827; Williams v. Wainwright, 5 Cir. 1970, 427 F.2d 921; Donlavey v. Smith, 5 Cir. 1970, 426 F.2d 800; Williams v. Wainwright, 5 Cir. 1969, 410 F.2d 144; Goodwin v. Holman, 5 Cir. 1966, 361 F.2d 403.
    
    
      4
      Affirmed.
    
    